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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

Vs.                        CASE NO. 4:11cr00211-08 JMM

ALVIN LONG


                                           ORDER

      Due to the defendant’s lack of substance abuse history, the special condition

requiring the defendant to participate in a substance abuse treatment program during

supervised release will not be required.

      The judgment to follow will not include this condition.

      The Clerk is requested to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

      IT IS SO ORDERED THIS 28th day of November, 2012.



                                            UNITED STATES DISTRICT JUDGE
